     Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 1 of 23




               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK

                             Case Number: 1:20cv02479

DOS BOWIES, LP, AUSTIN WALTER, ADAM
BRADEN, BARRY ETTINGER, BENJAMIN PHILLIPS,
TYC INVESTMENTS, LLC, DANNY EAPEN,
ERIC KUNTZ, GEOFFREY ALEXANDER,
HUNTER HUDSON, JOSE LLINAS, JOSEPH THAMES,
JAMES-PAUL DILL, KENNETH WALTER,
PAUL PISKLAK, RAFAL SUBERNAT,
RICHARD CAIN, ROY ABRAHAM,
RUSSELL BABBITT, RYAN KOCHEN, RIPE CAPITAL
PARTNERS LLC, STEVE NURKIN, SYED KALIM
HUSSAINI, HEESUK R. YOON, SUNIL CHERRY,
PARAG JOSHI, HITEN PATEL, NIMISH PATEL,
DAVID WEHBY, PALAM ANNAMALAI,
JASON MORRIS, MAULIK PARIKH, VENKAT IYER,
HANNIE PATEL, SHYAM KISHAN, WILLIAM HEFLIN
BARTON, III, RYAN NEUHAUS and GUPTA
BROKERAGE LLC,


               Plaintiffs,

v.

MICHAEL ACKERMAN, DR. QUAN TRAN,
and JAMES A. SEIJAS,


               Defendants.


                                                   /

           PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
      DEFENDANTS DR. QUAN TRAN AND JAMES A. SEIJAS’ MOTION TO
                            DISMISS
              Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 2 of 23




                                                           TABLE OF CONTENTS
                                                                                                                                                  Page

INTRODUCTION .......................................................................................................................................... 1
STANDARD OF REVIEW .......................................................................................................... ................. 2
ARGUMENT..................................................................................................................................................... 3
      I.       PLAINTIFFS HAVE NO IMPERMISSIBLY
               EMPLOYED GROUP PLEADING ........................................................................................... 3

      II.      PLAINTIFFS HAVE ADEQUATELY PLEAD
               THEIR FRAUD CLAIMS .............................................................................................................. 4

                  A. Plaintiffs Have Adequately Pled Violations of Section 10(b) of the
                     Exchange Act and Rule 10b-5(a), (b) and (c) ..................................................................... 4
                              1. Plaintiffs Have Adequately Alleged Reliance ....................................................... 5
                              2. Plaintiffs Have Alleged Defendants Misstatements
                                 and Scienter with Particularity ................................................................................. 6
                  B. Plaintiffs Have Adequately Pled Fraudulent Inducement ................................................ 7


    III.        PLAINTIFFS HAVE ADEQUATELY PLED BREACH OF
                FIDUCIARY DUTY...................................................................................................................... 9

    IV.         PLAINTIFFS HAVE ADEQUATELY PLED
                CIVIL CONSPIRACY ................................................................................................................ 10


    V.          PLAINTIFFS HAVE ADEQUATELY PLED A CLAIM FOR
                NEGLIGENCE ........................................................................................................................... 11


    VI.         PLAINTIFFS HAVE ADEQUATELY PLED A CLAIM FOR
                CONVERSION ............................................................................................................................ 12


    VII.        PLAINTIFFS HAVE ADEQUATELY PLED UNJUST ENRICHMENT ..................... 14


CONCLUSION ............................................................................................................................................... 15




                                                                               i
            Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 3 of 23



                                                   TABLE OF AUTHORITIES

Cases                                                                                                                                            Page


Amusement Indus., Inc. v. Stern,
  693 F. Supp. 2d 327 (S.D.N.Y. 2010........................................................................................................ 6

Anwar v. Fairfield Greenwich Ltd.,
  728 F. Supp. 2d 372 (S.D.N.Y. 2010) ...................................................................................................... 9

Aetna Cas. And Sur. Co. v. Aniero Concrete Co., Inc.,
  404 F.3d 566, 579-80 (2d Cir. 2005)..................................................................................................... 3, 4

Atuahene v. City of Hartford,
  10 F. App’x 33 (2d Cir. 2004) ............................................................................................................... 3, 4

Ashcroft v. Iqbal,
  556 U.S. 662, 697 (2009) ...................................................................................................................... 2, 3

Baker-Rhett v. Aspiro AB,
  324 F. Supp. 3d 407, 421 (S.D.N.Y. 2018) ............................................................................................. 7

Bankers Trust Co. v. Cerrato, Sweeney, Cohn, Stahl & Vaccaro,
  187 A.D.2d 384, 590 N.Y.S.2d 201, 202 (App.Div. 1st Dep't 1992) ............................................... 13

Barron Partners, LP v. LAB123, Inc.,
   593 F. Supp. 2d 667, 672 (S.D.N.Y. 2009) ............................................................................................. 8

Bell Atl. Corp. v. Twombly,
   550 U.S. 544, 570 (2007) ........................................................................................................................... 2

Blusal Meats, Inc. v. United States,
   638 F.Supp. 824, 831 (S.D.N.Y.1986)................................................................................................... 14

Cent. Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A.,
  511 U.S. 164, 180, 114 S. Ct. 1439, 1450, 128 L. Ed. 2d 119 (1994) .................................................. 9

Chase Manhattan Bank v. Motorola, Inc.,
  184 F.Supp.2d 384, 394 (S.D.N.Y.2002) ................................................................................................ 8

Chiarella v. United States,
  445 U.S. 222, 228, 100 S.Ct. 1108, 63 L.Ed.2d 348 (1980) ....................................................... 8, 9, 10

Citadel Mgmt., Inc. v. Telesis Trust, Inc.,
   123 F. Supp. 2d 133 (S.D.N.Y. 2000) .................................................................................................... 13




                                                                          ii
            Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 4 of 23



                                                   TABLE OF AUTHORITIES
                                                       CONTINUED
Cases                                                                                                                                            Page

Colavito v. New York Organ Donor Network, Inc.,
   8 N.Y.3d 43, 50, 860 N.E.2d 713, 717 (2006) ..................................................................................... 12

Comolli v. Huntington Learning Centers, Inc.,
  117 F.Supp.3d 343, 349 (S.D.N.Y. 2015) ............................................................................................... 7

Crigger v. Fahnestock & Co.,
   443 F.3d 230, 234 (2d Cir. 2006) ............................................................................................................. 7

Dolmetta v. Uintah National Corp.,
  712 F.2d 15, 20 (2d Cir.1983)................................................................................................................. 14

Dodona I, LLC v. Goldman Sachs & Co.,
  847 F. Supp. 2d 624 (S.D.N.Y. 2012) ................................................................................................... 14

Donini Int’l, S.p.A. v. Satec (U.S.A) LLC,
  No. 03-cv-9471, 2004 WL 1574645 (S.D.N.Y. July 13, 2004) ........................................................... 10

Gosmile, Inc. v. Levine,
  81 A.D.3d 77, 81, 915 N.Y.S.2d 521, 524 (2010) .................................................................................. 7

Eaves v. Designs for Fin., Inc.,
  785 F. Supp. 2d 229 (S.D.N.Y. 2011) ................................................................................................. 6, 7

Erica P. John Fund, Inc. v. Halliburton Co.,
   563 U.S. 804, 810 (2011) ........................................................................................................................... 5

Halliburton Co. v. Erica P. John Fund, Inc.,
  573 U.S. 258, 134 S. Ct. 2398, 2407, 189 L.Ed.2d 339 (2014) ............................................................ 5

Hecht v. Commerce Clearing House, Inc.,
  897 F.2d 21, 26 n.4 (2d Cir. 1990) ......................................................................................................... 11

High Tides, LLC v. DeMichele,
  88 A.D.3d 954, 931 N.Y.S.2d 377, 382–83 (2011) .............................................................................. 11

In re JP Morgan Auction Rate Sec. (ARS) Mktg. Litig.,
   867 F. Supp. 2d 407, 425 (S.D.N.Y. 2012) ......................................................................................... 8, 9

In re Scholastic Corp. Sec. Litig.,
   252 F.3d 63, 72 (2d Cir. 2001) ................................................................................................................. .3




                                                                          iii
            Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 5 of 23



                                                 TABLE OF AUTHORITIES
                                                     CONTINUED
Cases                                                                                                                                        Page

In re Time Warner, Inc. Sec. Litig.,
   9 F.3d 259, 268 (2d Cir.1993)................................................................................................................... 9

Jay Dees Inc. v. Defense Tech. Sys., Inc.,
   No. 05 Civ. 6954, 2008 WL 4501652, at *5 (S.D.N.Y. Sept. 30, 2008) .............................................. 6

John Blair Commc’ns, Inc. v. Reliance Capital Grp., L.P.,
   157 A.D.2d 490, 549 N.Y.S.2d 678 (1st Dep’t 1990) ........................................................................... 6

Kaufman v. Cohen,
  307 A.D.2d 113, 119–120, 760 N.Y.S.2d 157 (N.Y.App.Div., 1st Dept. 2003) ............................... 8

Kocourek v. Shrader,
   391 F. Supp. 3d 308, 320 (S.D.N.Y. 2019) ............................................................................................. 4

Kotler v. Deutsche Bank AG,
   607 F.Supp.2d 447, 463 (S.D.N.Y. 2009) ............................................................................................. 11

Lloyods TSB Bank PLC,
639 F.Supp.2d 326, 336 (S.D.N.Y. 2009) ............................................................................................ 10, 11

Mandarin Trading Ltd. v. Wildenstein,
  16 N.Y.3d 173, 180, 919 N.Y.S.2d 465, 470, 944 N.E.2d 1104, 1109 (2011) ................................. 11

Manufacturers Hanover Trust Co. v. Chemical Bank,
  160 A.D.2d 113, 559 N.Y.S.2d 704, 712 (App.Div. 1st Dep't 1990) ............................................... 13

McGrath v. Hilding,
  41 N.Y.2d 625, 629, 394 N.Y.S.2d 603, 606, 363 N.E.2d 328, 330 (1977) ..................................... 14

Meese v. Miller,
  79 A.D.2d 237, 436 N.Y.S.2d 496, 500 (App.Div. 4th Dep’t 1981)................................................. 13

Newbro v. Freed,
  409 F.Supp.2d 386, 395 (S.D.N.Y.2006) .............................................................................................. 13

New York v. Seventh Regiment Fund, Inc.,
  98 N.Y.2d 249, 259, 746 N.Y.S.2d 637, 774 N.E.2d 702 (2002) ...................................................... 12

Reprosystem, B.V. v. SCM Corp.,
   727 F.2d 257, 263 (2d Cir. 1984) ........................................................................................................... 14




                                                                        iv
            Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 6 of 23



                                                   TABLE OF AUTHORITIES
                                                       CONTINUED
Cases                                                                                                                                            Page


Rombach v. Chang,
  355 F.3d 164 (2d Cir. 2004) .................................................................................................................... 10

Ross v. A.H. Robins Co.,
   607 F.2d 545, 557 n. 20 (2d Cir.1979) ..................................................................................................... 3

Rusyniak v. Gensini,
  629 F. Supp. 2d 203, 219 (N.D.N.Y. 2009) ........................................................................................... 8

S.E.C. v. Zandford,
   535 U.S. 813, 823, 122 S. Ct. 1899, 1905, 153 L. Ed. 2d 1 (2002) ...................................................... 9

Sokolow, Dunaud, Mercadier & Carreras, LLP v. Lacher,
   299 A.D.2d 64, 70, 747 N.Y.S.2d 441 (2002) ........................................................................................ 7

Soley v. Wasserman,
   823 F. Supp. 2d 221, 232 (S.D.N.Y. 2011) ............................................................................................. 9

Tellabs, Inc. v. Makar Issues & Rights, Ltd.,
   551 U.S. 308, 321 (2007) ........................................................................................................................... 3

Thyroff v. Nationwide Mut. Ins. Co.,
  460 F.3d 400, 403–04 (2d Cir. 2006)..................................................................................................... 12

Shields v. Citytrust Bancorp, Inc.,
   25 F.3d 1124, 1128 (2d Cir. 1994) ........................................................................................................... 3

Sporn v. MCA Records, Inc.,
   58 N.Y.2d 482 at 487, 462 N.Y.S.2d 413, 448 N.E.2d 1324 (1983) ................................................. 12

United States ex rel. Ladas v. Exelis, Inc.,
  824 F.3d 16, 25 (2d Cir. 2016) ................................................................................................................. 3

U.S. v. Lloyds TSB Bank PLC,
  639 F.Supp.2d 326, 336 (S.D.N.Y.2009) ....................................................................................... 10, 11

Universal City Studios, Inc. v. Nintendo Co.,
  797 F.2d 70, 79 (2d Cir. 1986) ................................................................................................................ 14

Vigilant Ins. Co. of Am. v. Hous. Auth.,
  87 N.Y.2d 36, 44, 637 N.Y.S.2d 342, 660 N.E.2d 1121 (1995) ........................................................ 12




                                                                          v
               Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 7 of 23



                                                       TABLE OF AUTHORITIES
                                                           CONTINUED
 Statutes & Rules                                                                                                                                        Page


15 U.S.C. § 78j(b) .............................................................................................................................................. 4

Restatement [Second] of Torts §§ 8A, 223, 243 .......................................................................................... 12




                                                                                vi
          Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 8 of 23



         Plaintiffs Dos Bowies, LP (“Dos Bowies”), Austin Walter (“Mr. A. Walter”), Adam

Braden (“Dr. Braden”), Barry Ettinger (“Dr. Ettinger”), Benjamin Phillips (“Dr. Phillips”), TYC

Investments, LLC (“TYC”), Danny Eapen (“Dr. Eapen”), Eric Kuntz (“Mr. Kuntz”), Geoffrey

Alexander (“Dr. Alexander”), Hunter Hudson (“Mr. Hudson”), Jose Llinas (“Dr. Llinas”), Joseph

Thames (“Mr. Thames”), James-Paul Dill (“Mr. Dill”), Kenneth Walter (“Mr. K. Walter”), Paul

Pisklak (“Dr. Pisklak”), Rafal Subernat (“Dr. Subernat”), Richard Cain (“Dr. Cain”), Roy

Abraham (“Mr. Abraham”), Russell Babbitt (“Dr. Babbitt”), Ryan Kochen (“Mr. Kochen”), Ripe

Capital Partners LLC (“Ripe Capital”), Steve Nurkin (“Dr. Nurkin”), Syed Kalim Hussaini (“Dr.

Hussaini”), Heesuk R. Yoon (“Dr. Yoon”), Sunil Cherry (“Dr. Cherry”), Parag Joshi (“Dr. Joshi”), Hiten

Patel (“Dr. H. Patel”), Nimish Patel (“Dr. N. Patel”), David Wehby (“Dr. Wehby”), Palam Annamalai

(“Dr. Annamalai”), Jason Morris (“Dr. Morris”), Maulik Parikh (“Dr. Parikh”), Venkat Iyer (“Dr. Iyer”),

Hannie Patel (“Dr. Patel”), Shyam Kishan (“Dr. Kishan”), William Heflin Barton, III (“Dr. Barton”),

Ryan Neuhaus (“Dr. Neuhaus”) and Gupta Brokerage LLC (“Gupta Brokerage”) (collectively,

“Plaintiffs”), by and through their undersigned counsel and pursuant to Local Rule 7.1, hereby

submit this memorandum in opposition to Dr. Quan Tran (“Tran”) and James A. Seijas’ (“Seijas”)

(collectively, “Defendants”) Motion to Dismiss (“Joint Motion to Dismiss”) (Docket Entry

(“D.E.”) 38) Plaintiffs’ Corrected Complaint (“Complaint”) (D.E 13-1). In furtherance of the

same, Plaintiffs respectfully state as follows:

                                           INTRODUCTION

        From at least July 2017 through December 2019 (the “Relevant Time Period”), Defendant

Seijas and Defendant Tran, through two entities they controlled, Q3 Holdings, LLC (“Q3H”) and

Q3 I, LP (“Q3I”) (collectively, the “Q3 Companies”), operated a fraudulent scheme in which they

solicited and misappropriated funds to purportedly trade virtual currencies. Based on Defendants’

misrepresentations, as set forth in Plaintiffs’ Complaint, Plaintiffs deposited their investment funds with




                                                      1
          Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 9 of 23



the Q3 Companies. See Complaint at ¶1. Although Defendants represented to Plaintiffs that they would

use the funds to invest in cryptocurrencies, Defendants did not use Plaintiffs’ funds to invest in

cryptocurrencies. See id. at ¶2. Rather, Defendants and the Q3 Companies diverted Plaintiffs’ funds

to Defendants’ personal bank accounts. See id. at Complaint at ¶¶2, 85, 95.

        To induce Plaintiffs into making their investments, Defendant Seijas and Defendant Tran

knowingly or recklessly made several material misrepresentations and omissions regarding the Q3

Companies’ assets, the safety of the investments, and how the Q3 Companies would utilize

Plaintiffs’ funds. Defendant Seijas and Defendant Tran both told Plaintiffs, that they developed a

proprietary trading algorithm (the “Algorithm”) that allowed Defendants to (a) take advantage of

the volatility of cryptocurrencies when trading investor funds and (b) earn profits with minimal

risks. See id. at ¶¶4, 69, 79. In order to conceal the truth from Plaintiffs, Defendants provided

Plaintiffs with false accounting statements, newsletters containing false trading returns, and

fictitious screenshots reflecting the amount of money under the Q3 Companies’ management. See

id. at ¶¶7, 74, 75.

        Defendants have moved to dismiss Plaintiffs’ action asserting violations of the federal

securities laws and common-law claims based on Defendants’ deliberate scheme to personally

enrich themselves by stealing millions of dollars from investors. However, for the reasons set forth

below, Defendants’ Joint Motion to Dismiss should be denied in its entirety.

                                      STANDARD OF REVIEW

        It is well established that a motion to dismiss pursuant to Rule 12(b)(6) may not be granted

so long as a plaintiff’s complaint includes “enough facts to state a claim to relief that is plausible on

its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 697

(2009). “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”




                                                      2
          Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 10 of 23



Iqbal, 556 U.S. at 678. This plausibility standard “is not akin to a ‘probability requirement,’ but it

asks for more than a sheer possibility that the defendant has acted unlawfully.” Id. (emphasis

added).

          With regard to those allegations sounding in fraud, it is also well established that under Rule

9(b), “a complaint alleging fraud must ‘(1) specify the statements that the plaintiff contends were

fraudulent, (2) identify the speaker, (3) state where and when the statements were made, and (4)

explain why the statements were fraudulent.’” United States ex rel. Ladas v. Exelis, Inc., 824 F.3d 16,

25 (2d Cir. 2016), quoting Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1128 (2d Cir. 1994).

Additionally, under the Private Securities Litigation Reform Act (“PSLRA”), a plaintiff must “(1)

specify each statement alleged to have been misleading [and] the reason or reasons why the

statement is misleading; and (2) state with particularity facts giving rise to a strong inference that

the defendant acted with the required state of mind.” Tellabs, Inc. v. Makar Issues & Rights, Ltd., 551

U.S. 308, 321 (2007) (internal citation and quotation marks omitted). However, the Second Circuit

has held that pleading of “detailed evidentiary matter” is not required to state a claim for relief even

under these heightened pleading standards. In re Scholastic Corp. Sec. Litig., 252 F.3d 63, 72 (2d Cir.

2001) (“Even with the heightened pleading standard under Rule 9(b) and the Securities Reform Act

we do not require the pleading of detailed evidentiary matter in securities litigation.”) (citing Ross v.

A.H. Robins Co., 607 F.2d 545, 557 n.20 (2d Cir.1979)).

                                             ARGUMENT

I.        PLAINTIFFS HAVE NOT IMPERMISSIBLY EMPLOYED GROUP PLEADING

          As the Complaint in this matter shows, Plaintiffs have not impermissibly lumped

Defendants together, but rather have sufficiently pled facts to comply with Federal Rules of Civil

Procedure 8(a) and 9(b). See generally Complaint. Defendants cited Aetna Cas. And Sur. Co. v. Aniero

Concrete Co., Inc., 404 F.3d 566, 579-80 (2d Cir. 2005) and Atuahene v. City of Hartford, 10 F. App’x 33




                                                     3
         Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 11 of 23



(2d Cir. 2004) for the proposition that Plaintiffs “impermissibly lump[ed] all three Defendants

together, without adequately differentiating between and among them.” D.E. 38-1 at 16. However,

a complete reading of both cases reveals that Defendants’ arguments are without merit. Unlike the

facts set forth in Plaintiffs’ Complaint, the Aetna plaintiff made sweeping allegations without

providing any supporting facts. For example, the plaintiff alleged that the “[p]roject [d]ocuments

‘materially misrepresented’ the status of the work” performed, “the amount of work remaining to be

completed, and the extent of remediation” completed. Id. at 580. Unfortunately, the Aetna plaintiff

stopped there and failed to provide any factual support for its allegations. The plaintiff neither

identified who prepared the allegedly fraudulent project documents nor identified the specific areas

of the project that evidenced the alleged misrepresentations. See generally id. Similarly, the plaintiff in

Atuahene carelessly lumped multiple defendants together without distinguishing their conduct or

“identify[ing] any factual basis for the plaintiff’s legal claims.” Atuahene, 10 F. App’x 33, 34. In this

matter, Plaintiffs’ Complaint provides Defendants with “fair notice” by specifically identifying

Defendant Tran and Defendant Seijas’ misleading statements. See Complaint at ¶¶ 77, 78, 79, 80,

81,98, and 99. As such, Plaintiffs’ fraud claims have been adequately pled and should not be

dismissed.

II.     PLAINTIFFS HAVE ADEQUATELY PLED THEIR FRAUD CLAIMS

        A.      Plaintiffs Have Adequately Pled Violations of Section 10(b) of the Exchange
                Act and Rule 10b-5(a), (b) and (c)

        Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) makes it

unlawful to “use or employ, in connection with the purchase or sale of any security ... any

manipulative or deceptive device or contrivance in contravention of such rules and regulations as the

Commission may prescribe.” Kocourek v. Shrader, 391 F. Supp. 3d 308, 320 (S.D.N.Y. 2019) (quoting

15 U.S.C. § 78j(b)). To state a claim under Section 10(b) and Rule 10b-5, a plaintiff must allege: “(1)

a material misrepresentation or omission by the defendant; (2) scienter; (3) a connection between



                                                     4
         Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 12 of 23



the misrepresentation or omission and the purchase or sale of a security; (4) reliance upon

the misrepresentation or omission; (5) economic loss; and (6) loss causation.” Id. (quoting

Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 134 S. Ct. 2398, 2407, 189 L.Ed.2d 339

(2014) (internal quotations and citations omitted). Defendants have argued in their Joint Motion to

Dismiss that Plaintiffs have failed to adequately: (1) allege reliance on a material misrepresentation or

omission by Defendants; and (2) plead a material misrepresentation or omission by Defendants with

the required particularity and specificity required under both Rule 9(b) and the PSLRA. See D.E. 38-

1 at 9-11.

        1. Plaintiffs Have Adequately Alleged Reliance

        Plaintiffs’ Complaint adequately alleged Plaintiffs’ reliance on Defendants’

misrepresentations and omissions sufficient to survive Defendants’ Joint Motion to Dismiss. See

generally Complaint. Defendants cited Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 810

(2011), for the notion that the “traditional way a plaintiff can demonstrate reliance is by showing

that he was aware of a company’s statement and engaged in a relevant transaction—e.g., purchasing

common stock—based on that specific misrepresentation.” Id. at 10 (quoting Eric P. John Fund, Inc.,

563 U.S. at 810) (emphasis added). However, Defendants conveniently failed to disclose in their

Joint Motion to Dismiss that the Supreme Court explained in Eric P. John Fund, Inc. that the

“traditional” way is not the only manner in which to prove reliance, and that reliance may adequately

be based on a rebuttable presumption created by the fiduciary relationship between Defendants and

Plaintiffs in this matter. See id. (We recognized . . . however, that limiting proof of reliance in such a

way “would place an unnecessarily unrealistic evidentiary burden on the Rule 10b–5 plaintiff who

has traded on an impersonal market.”) (internal citations omitted). Unlike the facts in the Eric P.

John Fund, Inc. case, Plaintiffs in this matter have alleged an established fiduciary relationship between




                                                    5
          Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 13 of 23



them and Defendants based upon Plaintiffs’ investment in the limited partnership Q3I.1 See

Complaint at ¶¶10-12, 51, and 52.

         In addition, Defendants focused on the late 2019 dinner with Defendant Seijas and

Defendant Tran’s PD Group2 posts in support of their argument that Plaintiffs failed to allege

reliance. See D.E. 38-1 at 12. Defendants have also argued that any Plaintiffs who invested through

November 2019 failed to allege that they heard any of the statements made by Defendant Seijas. Id.

However, Defendants ignored Plaintiffs’ detailed allegations that Plaintiff Dos Bowies transmitted

Defendant Seijas’ statements to Plaintiffs—as Defendant Seijas knew and intended it would—which

Plaintiffs relied on to continue their investments in 2019. See Complaint at ¶¶79-81, 116; see also

Amusement Indus., Inc. v. Stern, 693 F.Supp.2d 327, 348 (S.D.N.Y. 2010) (upholding a fraud claim

based on indirect reliance where defendant “intended that the [third-party] communicate the

statements to [plaintiff]. . . to induce [plaintiff] to invest”); Jay Dees Inc. v. Defense Tech. Sys., Inc., No.

05 Civ. 6954, 2008 WL 4501652, at *5 (S.D.N.Y. Sept. 30, 2008) (“Reliance need not result from

direct communication from defendant to plaintiff. There is no reason why a misrepresentation to

the plaintiff’s agent does not suffice.”); see also John Blair Commc’ns, Inc. v. Reliance Capital Grp., L.P.,

157 A.D.2d 490, 492, 549 N.Y.S.2d 678, 680 (1st Dep’t 1990) (“[A] party who commits intentional

fraud is liable to any person who is intended to rely upon the misrepresentation or omission and

who does in fact so rely to his detriment.”). In addition, Plaintiffs clearly set forth allegations of

reliance throughout their Complaint and Defendants’ arguments should fail. See Complaint at

¶¶106, 116.




1 Plaintiffs fully address the fiduciary relationship between Defendants and Plaintiffs below, including the resulting
securities violations based on a duty to disclose. See intra III.
2 PD Group is defined in the Complaint as a private Facebook group called the “Physicians Dad Group.” See Complaint

at ¶59.




                                                          6
        Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 14 of 23



        2.      Plaintiffs Have Alleged Defendants’ Misstatements and Scienter With
                Particularity

        Defendants have argued that Plaintiffs’ Rule 10b-5 claims should fail because the statements

attributed to each Defendant lack the requisite particularity required under both Rule 9(b) and the

PSLRA. See D.E. 38-1 at 11. Defendants cited Eaves v. Designs for Fin., Inc., 785 F. Supp. 2d 229

(S.D.N.Y. 2011), for the proposition that Plaintiffs have failed to identify specifically to whom

Defendant Seijas’ misrepresentations were made, when the misrepresentations were made, where the

misrepresentations were made, or “what form the representations took.” See Eaves, 785 F. Supp. 2d

at 248. However, unlike the plaintiffs in Eaves, who failed to identify the defendant responsible for

making the misleading statement or how the alleged misrepresentation was made, to whom, when,

where and how, Plaintiffs in this matter detail the “who, when, where and how” relating to

Defendants statements. See id. An entire conversation between Defendant Seijas and Andrew

Walter (of Plaintiff Dos Bowies), in which Defendant Seijas made various misrepresentations

regarding the cryptocurrency investment, was transcribed into the Complaint. See Complaint at

¶¶79-81. Defendant Tran’s misrepresentations through a series of Facebook group posts is similarly

detailed. See id. at ¶¶59, 73-78. Plaintiffs also sufficiently allege the “where” and “when”

Defendants made their statements. Defendant Seijas’ statements were disseminated to Plaintiffs

through a conversation with Plaintiff Dos Bowies at a dinner in Tampa in late 2019, and Defendant

Tran posted misrepresentations several times during the Relevant Time Period to the Facebook

groups. See id. Plaintiffs also alleged in their Complaint that both Defendant Seijas and Defendant

Tran knew their statements regarding the safety of Plaintiffs’ funds and how Plaintiffs’ investment

funds would be used were false based on Defendants’ status as signatories to the Signature bank

account which held Plaintiffs’ investment funds. See id. at ¶¶77, 94, 96, and 98. Plaintiffs’

allegations, as set forth in the Complaint, regarding Defendants’ statements are enough to satisfy

Rule 9(b), and Plaintiffs’ Rule 10b-5 claims should not be dismissed.



                                                   7
         Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 15 of 23



        B.      Plaintiffs Have Adequately Pled Fraudulent Inducement

        To state a claim for fraudulent inducement under New York law, “there must be a knowing

misrepresentation of material present fact, which is intended to deceive another party and induce that

party [into] act[ing] on [the misrepresentation], resulting in injury.” Gosmile, Inc. v. Levine, 81 A.D.3d 77,

81, 915 N.Y.S.2d 521, 524 (2010); see also Sokolow, Dunaud, Mercadier & Carreras, LLP v. Lacher, 299

A.D.2d 64, 70, 747 N.Y.S.2d 441 (2002). Under New York law, “a claim of fraudulent inducement can

also be based on a material omission as well as a material misstatement.” Baker-Rhett v. Aspiro AB, 324

F. Supp. 3d 407, 421 (S.D.N.Y. 2018); see, e.g., Comolli v. Huntington Learning Centers, Inc., 117 F.Supp.3d

343, 349 (S.D.N.Y. 2015) (describing the first element of fraudulent inducement claim as “a material

misrepresentation or omission of fact”) (citing Crigger v. Fahnestock & Co., 443 F.3d 230, 234 (2d Cir.

2006)). An omission of fact is material if “a reasonable man would attach importance to its existence

or nonexistence in determining his choice of action in the transaction in question,” or “the maker of

the representation knows or has reason to know that its recipient regards or is likely to regard the

matter as important in determining his choice of action, although a reasonable man would not so

regard it.” Barron Partners, LP v. LAB123, Inc., 593 F. Supp. 2d 667, 672 (S.D.N.Y. 2009) (quoting Chase

Manhattan Bank v. Motorola, Inc., 184 F.Supp.2d 384, 394 (S.D.N.Y.2002)) (citation omitted). In this

case, Defendants not only made misrepresentations to Plaintiffs in connection with the cryptocurrency

investment, but they also made several omissions. See generally Complaint. For example, Defendants

failed to accurately disclose the licensing fees Defendants were collecting from Plaintiffs. See id. at ¶91.

Defendant Seijas and Defendant Tran also failed to disclose Defendants’ agreement to keep any profits

over 15% or the fact that Plaintiffs’ investment funds would be used for Defendants’ personal use. See

id. at ¶92. Plaintiffs’ allegations regarding Defendants’ misstatements alone are enough to satisfy Rule

9(b). See supra II A. Similarly, Plaintiffs’ allegations as to Defendants’ omissions alone are also enough

to satisfy Rule 9(b). A review of the alleged misrepresentations and omissions set forth in the




                                                     8
          Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 16 of 23



Complaint together demonstrate that Plaintiffs have sufficiently stated a claim for fraudulent

inducement under Rule 9(b), and that claim should not be dismissed.

III.     PLAINTIFFS HAVE ADEQUATELY PLED BREACH OF FIDUCIARY DUTY

         Under New York Law, a duty to disclose will arise “when one party has information that the

other [party] is entitled to know because of a fiduciary or other similar relation of trust and

confidence between them.” Chiarella v. United States, 445 U.S. 222, 228, 100 S.Ct. 1108, 63 L.Ed.2d

348 (1980) (internal citation omitted); see also Rusyniak v. Gensini, 629 F. Supp. 2d 203, 219 (N.D.N.Y.

2009) (quoting Kaufman v. Cohen, 307 A.D.2d 113, 119–120, 760 N.Y.S.2d 157 (N.Y.App.Div., 1st

Dept. 2003) (“[W]here a fiduciary relationship exists, the mere failure to disclose facts which one is

required to disclose . . . constitute[s] actual fraud.”).3 Another “circumstance creating a duty to

disclose arises when disclosure is necessary to make prior statements not misleading.” In re JP

Morgan Auction Rate Sec. (ARS) Mktg. Litig., 867 F. Supp. 2d 407, 425 (S.D.N.Y. 2012) (quoting In re

Time Warner, Inc. Sec. Litig., 9 F.3d 259, 268 (2d Cir.1993) (emphasis added)). As managing members

of the general partner of Q3I, Defendants owed Plaintiffs (or limited partners) a fiduciary duty. See

Complaint at ¶¶10-12. “It is undisputed under New York law that general partners owe a fiduciary

duty to the limited partners of the partnership.” Soley v. Wasserman, 823 F. Supp. 2d 221, 232

(S.D.N.Y. 2011) (quoting Anwar v. Fairfield Greenwich Ltd., 728 F.Supp.2d 372, 439 (S.D.N.Y.2010)).

         As stated herein, Defendants failed to disclose the true nature of the licensing fees

Defendants were collecting from Plaintiffs, including the cost associated with the licensing fees, the

methodology that Defendants would use to calculate the licensing fees or when the licensing fees



3
  Contrary to Defendants’ arguments that Plaintiffs’ breach of fiduciary duty “sounds in fraud,” Plaintiffs’ claim is based
on Defendants’ duty to disclose rather than its misstatements. See Schwartzco Enterprises LLC v. TMH Mgmt., LLC, 60 F.
Supp. 3d 331, 352 (E.D.N.Y. 2014) (citing Rahl v. Bande, 328 B.R. 387, 413 (S.D.N.Y.2005) (Rule 9(b) did not apply to
the claim that the “defendants breached their fiduciary duties by deepening [the debtor’s] insolvency to enhance their
personal wealth”).




                                                             9
         Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 17 of 23



would be assessed. See Complaint at ¶91. Defendant Seijas and Defendant Tran also failed to

disclose to Plaintiffs their agreement to pocket any profits over 15%, or the fact that Defendants

would use Plaintiffs’ investment funds for Defendants’ personal use. See id. at ¶92. In addition,

neither Defendant acted to correct any prior misrepresentations. See generally id. Defendant Seijas, as

late as 2019, continued to omit the true nature of the licensing fees and Defendants’ agreement to

appropriate any profits over 15%. See id. at ¶¶79-81. Defendant Tran also never corrected the

aforementioned omissions to Plaintiffs. See id. at ¶¶84-87. Not only have Plaintiffs sufficiently pled

a claim for breach of fiduciary based on the foregoing, but Plaintiffs have also sufficiently alleged

their §10(b) claims based on these same omissions and Defendants’ status as fiduciaries. See S.E.C.

v. Zandford, 535 U.S. 813, 823, 122 S. Ct. 1899, 1905, 153 L. Ed. 2d 1 (2002) (citing Chiarella, 445 U.S.

at 230 (“noting that ‘silence in connection with the purchase or sale of securities may operate as a

fraud actionable under § 10(b)’ when there is a ‘duty to disclose arising from a relationship of trust

and confidence between parties to a transaction.”)); see also Cent. Bank of Denver, N.A. v. First Interstate

Bank of Denver, N.A., 511 U.S. 164, 180, 114 S. Ct. 1439, 1450, 128 L. Ed. 2d 119 (1994)

(citing Chiarella, 445 U.S. at 228 (“omission actionable [under § 10(b)] . . . where duty to disclose

arises from specific relationship between two parties.”). As such, Plaintiffs’ breach of fiduciary duty

claim should not be dismissed.

IV.     PLAINTIFFS HAVE ADEQUATELY PLED CIVIL CONSPIRACY

        Defendants argued in their Joint Motion to Dismiss that “Plaintiffs’ claim for civil
conspiracy to commit fraud must be dismissed since Plaintiffs cannot make out a prima facie claim
for fraud – the underlying tort.” See D.E. 38-1 at 14. Defendants have also argued that Plaintiffs’
claim for civil conspiracy should fail because Plaintiffs failed to plead the claim with particularity
pursuant to Rule 9(b). See id. However, Defendants are incorrect with regard to both grounds. See
supra §II A-B; see also U.S. v. Lloyds TSB Bank PLC, 639 F.Supp.2d 326, 336 (S.D.N.Y.2009) (“Rule
8(a) of the Federal Rules of Civil Procedure governs the sufficiency of the conspiracy allegations. .




                                                     10
         Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 18 of 23



.”). As set forth above, Plaintiffs have satisfied any objective standard necessitated by Rule 9(b) with
regard to their fraud claims and have adequately linked the Defendants to the underlying fraud.
Although Defendants cited Donini Int’l, S.p.A. v. Satec (U.S.A) LLC, No. 03-cv-9471, 2004 WL
1574645 (S.D.N.Y. July 13, 2004), for the proposition that Plaintiffs have failed to connect
Defendants to the underlying fraud, unlike the plaintiffs in Donini Int’l, S.p.A., whose allegations
were based upon mere speculation, Plaintiffs have sufficiently alleged facts that show how
Defendants’ misstatements and omissions furthered the Ponzi scheme set forth in Plaintiffs’
Complaint.
        With regard to the pleading standard required to set forth a claim for conspiracy,
Defendants’ argument was similarly erroneous. Defendants cited Rombach v. Chang, 355 F.3d 164 (2d
Cir. 2004), in support of the foregoing position, but Defendants’ reliance was misplaced. In Lloyods
TSB Bank PLC, a case where plaintiffs alleged that the bank defendant and others had conspired to
commit securities fraud, this Court held that Rule 8(a) governed the sufficiency of the conspiracy
allegations rather than the heightened pleading requirements of Rule 9(b). See Lloyds TSB Bank PLC,
639 F.Supp.2d at 336 (citing Hecht v. Commerce Clearing House, Inc., 897 F.2d 21, 26 n.4 (2d Cir. 1990);
see also Kotler v. Deutsche Bank AG, 607 F.Supp.2d 447, 463 (S.D.N.Y. 2009) (an action by taxpayers
against bank and an investment advisory firm alleging, inter alia, conspiracy to defraud in the
formation and promotion of illegal tax shelters) (“The Court does not hold the Plaintiffs to the
stricter Rule 9(b) standards on the conspiracy claim, but rather the normal Rule 8(a) standards.”)
(citing Hecht, 897 F.2d at 26 n.4). As stated above, Plaintiffs have sufficiently alleged an underlying
fraud and, therefore, have sufficiently alleged a claim for civil conspiracy under Rule 8(a).
V.      PLAINTIFFS HAVE ADEQUATELY PLED A CLAIM FOR NEGLIGENCE

        Plaintiffs have adequately pled a claim for negligence based on Defendants’ material

omissions. Under New York law, in order to state a negligence claim premised

on negligent misrepresentation(s) or omission(s), a plaintiff must allege: “(1) the existence of a

special or privity-like relationship imposing a duty on the defendant to impart correct information to

the plaintiff; (2) that the information was incorrect [or withheld]; and (3) reasonable reliance on the




                                                   11
         Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 19 of 23



information [or omission].” High Tides, LLC v. DeMichele, 88 A.D.3d 954, 931 N.Y.S.2d 377, 382–83

(2011) (alteration in original) (quoting Mandarin Trading Ltd. v. Wildenstein, 16 N.Y.3d 173, 180, 919

N.Y.S.2d 465, 470, 944 N.E.2d 1104, 1109 (2011)). As stated above, Defendants owed a fiduciary

duty to Plaintiffs, which included a duty to provide Plaintiffs with correct information regarding the

cryptocurrency investments and to perform reasonable investigations into the value of the trading

accounts. Plaintiffs have sufficiently alleged in their Complaint that neither Defendant Seijas nor

Defendant Tran disclosed the manner in which Defendants were collecting licensing fees from

Plaintiffs. See Complaint at ¶91. Defendant Seijas and Defendant Tran also failed to disclose to

Plaintiffs their agreement to pocket any profits over 15% or the fact that Plaintiffs investment funds

would be misappropriated for Defendants’ personal use. See id. at ¶92. Finally, neither Defendant

Seijas nor Defendant Tran disclosed the actual value of the trading accounts holding Plaintiffs’

investment funds. See id. at ¶98. Plaintiffs reasonably relied on Defendant Seijas and Defendant

Tran’s representations when making their investment decisions in connection with the Q3

cryptocurrency investment. See Complaint at ¶¶106 and 116. Plaintiffs sufficiently alleged a “special

relationship” between Defendants and Plaintiffs giving rise to Defendants’ duty to correct the

material omissions set forth in the Complaint. As such, Plaintiffs’ negligence claim should not be

dismissed.

VI.     PLAINTIFFS HAVE ADEQUATELY PLED A CLAIM FOR CONVERSION

        According to New York law, “[c]onversion is the unauthorized assumption and exercise of

the right of ownership over goods belonging to another to the exclusion of the owner's

rights.” Thyroff v. Nationwide Mut. Ins. Co., 460 F.3d 400, 403–04 (2d Cir.2006) (quoting Vigilant Ins.

Co. of Am. v. Hous. Auth., 87 N.Y.2d 36, 44, 637 N.Y.S.2d 342, 660 N.E.2d 1121 (1995)) (internal

quotation marks omitted). This includes a “denial or violation of the plaintiff’s dominion, rights, or

possession” over her property. Id. (quoting Sporn v. MCA Records, Inc., 58 N.Y.2d 482 at 487, 462




                                                   12
         Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 20 of 23



N.Y.S.2d 413, 448 N.E.2d 1324 (1983). It also requires that the defendant exclude the owner from

exercising her rights over the goods. New York v. Seventh Regiment Fund, Inc., 98 N.Y.2d 249, 259, 746

N.Y.S.2d 637, 774 N.E.2d 702 (2002).

        Two key elements of conversion are (1) plaintiff's possessory right or interest in the property

and (2) defendant's dominion over the property or interference with it, in derogation of plaintiff's

rights. Colavito v. New York Organ Donor Network, Inc., 8 N.Y.3d 43, 50, 860 N.E.2d 713, 717 (2006);

see also Restatement [Second] of Torts §§ 8A, 223, 243; Prosser and Keeton, Torts § 15, at 92, 102

[5th ed.]. Under New York law, “[i]t is well settled that an action will lie for the conversion of

money where there is a specific, identifiable fund and an obligation to return or otherwise treat in a

particular manner the specific fund in question.” Manufacturers Hanover Trust Co. v. Chemical Bank, 160

A.D.2d 113, 559 N.Y.S.2d 704, 712 (App.Div. 1st Dep't 1990). The plaintiff must demonstrate that

he has “legal title or an immediate superior right of possession to the identifiable fund.” Bankers

Trust Co. v. Cerrato, Sweeney, Cohn, Stahl & Vaccaro, 187 A.D.2d 384, 590 N.Y.S.2d 201, 202 (App.Div.

1st Dep't 1992). “Interference with a right of possession is the essence of a conversion.” Meese v.

Miller, 79 A.D.2d 237, 436 N.Y.S.2d 496, 500 (App.Div. 4th Dep’t 1981). As detailed in Plaintiffs’

Complaint, Defendants exercised control over Plaintiffs’ money, and prevented Plaintiffs’ access to

such money. Plaintiffs’ funds were easily identifiable, and Plaintiffs maintained a right of possession

to such funds. As such, Plaintiffs’ Complaint has sufficiently articulated a claim for conversion. See

Newbro v. Freed, 409 F.Supp.2d 386, 395 (S.D.N.Y.2006) (In New York, an unauthorized wire

transfer from one bank account to another constitutes conversion).

        Defendants cited Citadel Mgmt., Inc. v. Telesis Trust, Inc., 123 F. Supp. 2d 133 (S.D.N.Y. 2000),

for the proposition that, “unless the funds are held in a distinct separate account in which they are

specifically identifiable,” Plaintiffs’ conversion claim must fail. See id. at 148 n.4; see also D.E. 38-1 at

15. The Citadel Court found that the converted funds at issue were not “specifically identifiable”




                                                     13
         Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 21 of 23



because they were not segregated or earmarked in a distinct account opened for the purposes of the

transaction. See Citadel Mgmt., Inc., 123 F. Supp. 2d at 148. Unlike Citadel, Plaintiffs’ investment

funds were held in a separate account specifically designated for cryptocurrency investment. As set

forth in the Complaint, each investor, including Plaintiffs, were directed to wire their investment

funds to a specific bank account held at Signature Bank in New York. See Complaint at ¶ 63.

Additionally, Defendant Michael Ackerman opened the Q3 Trading Account (as defined in the

Complaint) to receive Plaintiffs’ investment funds from that Signature Bank account for the

purposes of executing cryptocurrency trades. See id. at ¶ 61. However, Defendants converted

Plaintiffs’ funds for their personal use before the funds could reach the Q3 Trading Account for

which the funds were designated. See id. at ¶ 84-86. In light of these specific facts, Plaintiffs have

sufficiently alleged a claim for conversion.

VII.    PLAINTIFFS HAVE ADEQUATELY PLED UNJUST ENRICHMENT

        To recover on a theory of unjust enrichment under New York law, a party must establish

not only that there was enrichment, but that the enrichment was at the plaintiff's expense, and that

the circumstances dictate that, in equity and good conscience, the defendant should be required to

turn over its money to the plaintiff. See Dolmetta v. Uintah National Corp., 712 F.2d 15, 20 (2d

Cir.1983); see also McGrath v. Hilding, 41 N.Y.2d 625, 629, 394 N.Y.S.2d 603, 606, 363 N.E.2d 328,

330 (1977); Universal City Studios, Inc. v. Nintendo Co., 797 F.2d 70, 79 (2d Cir.), cert. denied, 479 U.S.

987, 107 S.Ct. 578, 93 L.Ed.2d 581 (1986); accord, e.g., Reprosystem, B.V. v. SCM Corp., 727 F.2d 257,

263 (2d Cir.), cert. denied, 469 U.S. 828, 105 S.Ct. 110, 83 L.Ed.2d 54 (1984); Blusal Meats, Inc. v. United

States, 638 F.Supp. 824, 831 (S.D.N.Y.1986), aff'd, 817 F.2d 1007, 1008 (2d Cir.1987).

Notwithstanding Defendants’ argument that Plaintiffs’ claim for unjust enrichment “sounds in

fraud,” Plaintiffs have adequately set forth a claim for unjust enrichment under both the Rule 8(a)

and Rule 9(b) standard. See supra §II A-B. Defendants improperly benefitted from their role in the




                                                      14
        Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 22 of 23



Ponzi scheme by receiving undisclosed licensing fees from Plaintiffs and misappropriating investor

funds for their personal use. See Complaint at ¶¶85, 86, 87, 91-93, 95-98. It would be against equity

and good conscience to all Defendants to keep these funds, so Plaintiffs have sufficiently pled the

elements of their unjust enrichment claim. See Dodona I, LLC v. Goldman Sacks & Co., 847 F. Supp.

2d 624, 640 (S.D.N.Y. 2012).

                                         CONCLUSION

       For the foregoing reasons, the claims asserted by Plaintiffs against Defendant Seijas

and Defendant Tran for violations of section 10(b) of the Exchange Act and Rule 10b-5(a), (b)

and (c), fraudulent inducement, breach of fiduciary duty, civil conspiracy to commit fraud,

negligence, conversion, and unjust enrichment should be upheld and Defendants’ Joint Motion

to Dismiss should be denied.


DATED:         July 20, 2020
               Coral Gables, Florida


                                               HUNTER TAUBMAN FISCHER & LI LLC

                                               /s/ Mark David Hunter
                                               Mark David Hunter, Esquire
                                               New York Bar No. 4017331
                                               Jenny Johnson-Sardella, Esquire
                                               New York Bar No. 4225850
                                               2 Alhambra Plaza, Suite 650
                                               Coral Gables, Florida 33134
                                               Tel:    (305) 629-1180
                                               Fax: (305) 629-8099
                                               E-mail: mhunter@htflawyers.com
                                                       jsardella@htflawyers.com




                                                 15
        Case 1:20-cv-02479-LGS Document 40 Filed 07/20/20 Page 23 of 23



                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that the aforementioned document was filed
through the Court’s CM/ECF system on July 20, 2020. Parties of record may obtain a copy through
the Court’s CM/ECF system. The undersigned certifies that no party of record requires service of
documents through any means other than the CM/ECF system.


                                                    /s/ Mark David Hunter
                                                    Mark David Hunter




                                               16
